Case 3:14-cr-00086-KAC-DCP   Document 388    Filed 03/25/15   Page 1 of 6   PageID
                                   #: 1788
Case 3:14-cr-00086-KAC-DCP   Document 388    Filed 03/25/15   Page 2 of 6   PageID
                                   #: 1789
Case 3:14-cr-00086-KAC-DCP   Document 388    Filed 03/25/15   Page 3 of 6   PageID
                                   #: 1790
Case 3:14-cr-00086-KAC-DCP   Document 388    Filed 03/25/15   Page 4 of 6   PageID
                                   #: 1791
Case 3:14-cr-00086-KAC-DCP   Document 388    Filed 03/25/15   Page 5 of 6   PageID
                                   #: 1792
Case 3:14-cr-00086-KAC-DCP   Document 388    Filed 03/25/15   Page 6 of 6   PageID
                                   #: 1793
